Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 1 of 6 PageID #: 162




                                         s/ SLT
Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 2 of 6 PageID #: 163
Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 3 of 6 PageID #: 164
Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 4 of 6 PageID #: 165
Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 5 of 6 PageID #: 166
Case 1:07-cr-00278-SLT   Document 53   Filed 04/07/08   Page 6 of 6 PageID #: 167
